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13
14                               UNITED STATES DISTRICT COURT

15                            NORTHERN DISTRICT OF CALIFORNIA

16
17   TEMUJIN LABS INC., a Delaware                  CASE NO. 4:21-cv-09152-JST
     corporation, and TEMUJIN LABS INC., a
18   Cayman Islands corporation                     CERTIFICATE OF INTERESTED
                                                    ENTITIES OR PERSONS OF
19                     Plaintiffs,                  DEFENDANTS TRANSLUCENCE
                                                    RESEARCH, INC., BENJAMIN FISCH,
20          vs.                                     CHARLES LU, AND NATHAN MCCARTY

21   TRANSLUCENCE RESEARCH, INC., a
     Delaware corporation, BENJAMIN FISCH,          Complaint Filed:     November 24, 2021
22   CHARLES LU, BENEDIKT BÜNZ,
     NATHAN MCCARTY, FERNANDO
23   KRELL, PHILIPPE CAMACHO CORTINA,
     BINYI CHEN, AND LUOYUAN (ALEX)
24   XIONG, and DOES 1-20,

25                     Defendants.

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                                                                       CERTIFICATE OF INTERESTED
                                                                             ENTITIES OR PERSONS
                                                                         CASE NO. 4:21-CV-09152-JST
        Case 4:21-cv-09152-JST Document 24 Filed 03/17/22 Page 2 of 2



 1           PLEASE TAKE NOTICE that, pursuant to Northern District of California Local Rule 3-
 2   15, the undersigned counsel of record for Defendant Translucence Research, Inc., Benjamin
 3   Fisch, Charles Lu, and Nathan McCarty in the above-captioned matter, certifies to its knowledge
 4   that, as of this date, other than the named parties, there is no such interest to report.
 5
      DATED: March 17, 2022                    PAUL HASTINGS LLP
 6
 7
                                               By: /s/ Edward Han
 8                                                                      EDWARD HAN
 9                                             Attorneys for Defendants
                                               Translucence Research, Inc., Benjamin Fisch,
10                                             Charles Lu and Nathan McCarty
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                                                                               CERTIFICATE OF INTERESTED
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                                                                                 CASE NO. 4:21-CV-09152-JST
